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WESTERN DIVIsIoN §.%R§¢ §§ §'§\'HPS.T¢

AMY C. LEWIS, JUDGMENT IN A CIVIL CASE

VS

CHRISTIAN BROTHERS UNIVERSITY,

STANISLAUS SOBCZYK, TAU KAPPA

EPSILON-CBU CHAPTER, INC. and

ALEX ARTHUR. CASE NO: 04-2875 Ml/P

 

This action having been dismissed by the plaintiff:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order cf
Dismissal Without Prejudice as to Defendant Alex Arthur, Only and
the Order of Dismissal With Prejudice as to Defendants Christian
Brcthers University, Stanislaus Sobczyk, and Tau Kappa Epsilon -
CBU Chapter, Inc., Only, filed June j§l, 2005, this case is
DISMISSED.

APPROVED:

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TED STATES DISTRICT COURT

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Clerk cf Court

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Honorable J on McCalla
US DISTRICT COURT

